Case 1:04-cr-10098-SHI\/| Document 8 Filed 07/06/05 Page 1 of 2 Page|D 8

 

UNITED sTATEs DIsTRICT COURT .T?_"__
WESTERN I)ISTRICT OF TENNESSEE fm
Eastern Division “5 "'?‘
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/“, ‘ /";-’~`// / //l, {
UNITED STATES OF AMERICA /21)' .6_‘ O/j_\t/f/`T
_vS_ Case N0.1:04cr10098-0/M

TERRY DICKERSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ()RDERED that a detention hearing is RESET i`or
THURSDAY, JULY 7, 2005 at 2:00 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, 9th Floor, United States Courthouse and Federal Building, ill
South l-lighland, Jacl<son7 TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

Date: July5,2005 <g,..-{_l/; f
mill /(»-4£`-‘

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'lt`not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion ol`the government, or up to five days upon motion ofthe defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1") are presentl Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85} Order of Temporary Detentlon

Thls document entered on the docket sheet l

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with Hu|e 55 and/or 32(b} FRCrP on " 2' Z l L\ tipan §

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:04-CR-10098 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

